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                    UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:
__________________________________________
                                          :
UNITED STATES,                            :
                                          :
                   Plaintiff,             :
                                          :                 JURY TRIALDEMANDED
              v.                          :
                                          :                 Court No. 24-00014 
KOEHLER OBERKIRCH GMBH, f/k/a             :
PAPIERFABRIK AUGUST KOEHLER               :                 121&21),'(17,$/
SE, f/k/a PAPIERFABRIK AUGUST             :
KOEHLER AG; and KOEHLER PAPER             :
SE,                                       :
                                          :
                   Defendants.            :
__________________________________________:

                                          COMPLAINT

       Plaintiff, the United States of America, through its undersigned attorneys, alleges as

follows:

       1.       This action is brought against Koehler Oberkirch GmbH and its successor-in-

interest, Koehler Paper SE, to recover unpaid antidumping duties and pre-liquidation interest in

the amount of $193,631,642.08 owed on 1,462 entries of lightweight thermal paper, plus

additional pre- and post-judgment interest, including but not limited to interest pursuant to 19

U.S.C. § 1505(d).

       2.       This court has jurisdiction under 28 U.S.C. § 1582(3).

Koehler Oberkirch GmbH

       3.       Defendant Koehler Oberkirch GmbH is currently located at Hauptstraße 2, 77704

Oberkirch, Baden-Württemberg, Federal Republic of Germany.

       4.       Koehler Oberkirch GmbH is formerly known as Papierfabrik August Koehler SE.
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       5.       In November 2021, Papierfabrik August Koehler SE became Koehler Oberkirch

GmbH through “a statutory conversion, i.e., the actual business entity continues to be the same.”

Koehler Paper, Name-change: “Papierfabrik August Koehler SE” is now “Koehler Oberkirch

GmbH” (Dec. 20, 2021), https://www.koehlerpaper.com/en/news/publications/name-

change_PAK-SE.php.

       6.       Papierfabrik August Koehler SE was formerly known as Papierfabrik August

Koehler AG.

       7.       In 2012, Papierfabrik August Koehler AG became known as Papierfabrik August

Koehler SE by converting to a different corporate form.

       8.       Koehler Oberkirch GmbH is the mere continuation of, or successor-in-interest to,

Papierfabrik August Koehler SE, which itself was the mere continuation of, or successor-in-

interest to, Papierfabrik August Koehler AG.

Antidumping Duties Owed On Koehler’s Entries

       9.       Between November 1, 2009, and October 31, 2011, Koehler Oberkirch GmbH

(“Koehler”), formerly known as Papierfabrik August Koehler SE, formerly known as

Papierfabrik August Koehler AG, imported lightweight thermal paper from Germany through the

1,462 entries listed in Exhibit A (the “Entries”).

       10.      The imported lightweight thermal paper in the Entries was subject to antidumping

duties pursuant to Antidumping Duty Orders: Lightweight Thermal Paper from Germany and the

People’s Republic of China, 73 Fed. Reg. 70,959 (Dep’t Commerce Nov. 24, 2008).

       11.      At the time of entry, Koehler made estimated antidumping duty cash deposits on

the Entries at rates of either 3.77 percent ad valorem or 6.50 percent ad valorem.




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         12.   The United States Department of Commerce (“Commerce”) conducted

administrative reviews of the antidumping duty order for the periods of review of November 1,

2019 through October 31, 2010, and November 1, 2010 through October 31, 2011.

         13.   During the administrative review for the period of November 1, 2010 through

October 31, 2011, Commerce observed that Koehler engaged in a transshipment scheme in

which Koehler intentionally concealed reportable home market sales transactions, both during

the period of review for November 1, 2010 through October 31, 2011, and during the prior

period of review from November 1, 2019 through October 31, 2010. Lightweight Thermal Paper

from Germany: Final Results of Antidumping Duty Administrative Review; 2010-2011, 78 Fed.

Reg. 23,220 (Dep’t Commerce Apr. 18, 2013); Issues & Decision Mem. For the Final Results of

the 2010-2011 Admin. Review on Lightweight Thermal Paper from Germany, A-428-840, ARP

10-11 (Apr. 10, 2013), https://access.trade.gov/Resources/frn/summary/germany/2013-09049-

1.pdf.

         14.   Koehler publicly acknowledged that the allegations that it engaged in such a

transshipment scheme were substantially correct. Lightweight Thermal Paper from Germany:

Final Results of Antidumping Duty Administrative Review; 2010-2011, 78 Fed. Reg. 23,220

(Dep’t Commerce Apr. 18, 2013); Issues & Decision Mem. For the Final Results of the 2010-

2011 Admin. Review on Lightweight Thermal Paper from Germany, A-428-840, ARP 10-11

(Apr. 10, 2013), https://access.trade.gov/Resources/frn/summary/germany/2013-09049-1.pdf.

         15.   Commerce ultimately assigned a final dumping margin of 75.36 percent for the

Entries made during both periods of review, November 1, 2019 through October 31, 2010, and

November 1, 2010 through October 31, 2011.




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        16.     The United States Court of International Trade upheld the 75.36 percent rate

applied to Koehler’s Entries.

        17.     The United States Court of Appeals for the Federal Circuit affirmed this Court’s

decisions upholding the 75.36 percent rate applied to Koehler’s Entries, and the United States

Supreme Court denied Koehler’s petitions for writs of certiorari.

        18.     United States Customs and Border Protection (“Customs”) liquidated and/or

reliquidated the Entries at the 75.36 percent rate after Commerce issued notices lifting the

suspension of liquidation of the Entries and liquidation instructions.

        19.     Koehler protested many of the Entries’ liquidations and reliquidations which

applied the 75.36 percent rate.

        20.     On [[               ]], Customs issued ruling letter [[             ]], determining

that certain interest for some of Koehler’s Entries was miscalculated, among other things.

        21.     Between July 16 and July 28, 2020, Customs granted in part and denied in part

Koehler’s protests based on ruling letter [[              ]].

        22.     Between July 31 and August 7, 2020, Customs reliquidated certain Entries as a

result of its granting Koehler’s protests in part.

        23.     As to each of the Entries, Customs issued written bills to Koehler for payment due

to Customs at the time of the Entries’ liquidation or reliquidation. Exhibit A lists the original

date and amount of all 1,462 bills, correlating to each of the 1,462 Entries.

        24.     The bills seeking payment are comprised of unpaid antidumping duties in the

amount of $145,288,597.04 (which reflects the difference between the antidumping duty rate of

75.36 percent ad valorem applied at liquidation or reliquidation and the rate asserted by Koehler

and used to make estimated antidumping duty deposits at the time of entry) plus $48,343,045.04




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(which reflects pre-liquidation interest that Customs assessed on the outstanding antidumping

duties pursuant to 19 U.S.C. § 1677g).

       25.     The combined total amount of additional antidumping duties and pre-liquidation

interest owed by Koehler after the liquidation or reliquidation of the Entries is $193,631,642.08.

       26.     Customs has notified Koehler of the unpaid amounts owed in connection with the

Entries, including the continuing accrual of post-liquidation interest pursuant to 19 U.S.C.

§ 1505(d), on a monthly basis.

       27.     Koehler did not file any action in this Court contesting Customs’ denials in part of

its protests with regard to any of the Entries within 180 days of such denials.

       28.     Customs’ assessment of $193,631,642.08 in antidumping duties and pre-

liquidation interest pursuant to 19 U.S.C. § 1677g, as well as the applicability of post-liquidation

interest pursuant to 19 U.S.C. § 1505(d), not having been timely challenged in this Court within

180 days of Customs’ denial of a protest, is final and conclusive under 19 U.S.C. § 1514(a).

The “Spin-Off” to Koehler Paper SE

       29.     On April 1, 2021—less than nine months after Customs denied Koehler’s protests

and less than three months after 180 days had elapsed from such denials—Koehler underwent

what it publicly described as a “spin-off,” whereby certain assets and liabilities were transferred

to a new company called Koehler Paper SE.

       30.     Defendant Koehler Paper SE maintains the same corporate address as Koehler at

Hauptstraße 2, 77704 Oberkirch, Baden-Württemberg, Federal Republic of Germany.

       31.     At the time of the “spin-off,” Koehler Paper SE and Koehler shared the same

officers and directors.




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       32.       Koehler was the [[                               ]] of the Koehler Paper Group

before the “spin-off.” Koehler Paper SE, Consolidated Financial Statements as of December 31,

2021, and Group Management Report (dated March 2022) (“Koehler Paper SE Financial

Statement FY 2021”).

       33.       At the end of Koehler’s 2020 fiscal year (“FY 2020”) on December 31, 2020,

Koehler had [[                   ]] in assets. Koehler, Annual Financial Statements as of

December 31, 2020, and Management Report (dated March 2021) (“Koehler Financial

Statement FY 2020”).

       34.       Koehler listed “other provisions” of approximately [[                    ]] at the end

of FY 2020, which Koehler claimed was [[                    ]] to cover [[                            ]]

of the debts it owes to Customs. Id.

       35.       In the “spin-off,” Koehler transferred to Koehler Paper SE approximately

[[                      ]] of assets—including over [[                          ]] of Koehler’s

receivables and control over profitable manufacturing subsidiary Koehler Kehl GmbH—but only

[[                        ]] of “other provisions” and [[                        ]] of liabilities.

Koehler, Annual Financial Statements as of December 31, 2021, and Management Report (dated

March 2022) (“Koehler Financial Statement FY 2021”).

       36.       At the end of the FY 2021, Koehler’s assets had been reduced to

[[                  ]], or less than a quarter of what they were at the close of the prior fiscal year

before the “spin-off.” Id.

       37.       Koehler’s revenue also fell by [[       ]] percent by the end of FY 2021 mainly due

to the fact that, after the “spin-off,” paper manufactured by Koehler Kehl GmbH was being sold

by Koehler Paper SE rather than Koehler. Id.




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         38.     Additionally, after the “spin-off,” Koehler cut its “other provisions” to

 [[                ]], which Koehler claimed was [[                ]] for the

                                     ]] Id.

         39.     After the “spin-off,” [[

                                            ]] with Koehler

            ]] subsidiary of Koehler Paper SE. Koehler Paper SE Financial Statement FY 2021.

         40.    Neither Koehler nor Koehler Paper SE has listed the full $193,631,642.08 debt

 owed to Customs in its financial statements, whether as an “other provision,” liability, or

 something else, despite being aware of the full amount of such debt. Koehler Financial

 Statement FY 2021; Koehler Paper SE Financial Statement FY 2021.

         41.    Koehler Paper SE’s and Koehler’s descriptions of the “spin-off” in their FY 2021

 financial statements omit any mention of the $193,631,642.08 debt owed to Customs. Koehler

 Financial Statement FY 2021; Koehler Paper SE Financial Statement FY 2021.

         42.    As a direct result of the “spin-off,” Koehler now lacks assets sufficient to pay its

 debts to Customs, including post-liquidation interest under 19 U.S.C. § 1505(d) and any

 additional pre- and post-judgment interest.

                                             COUNT I
                                    (Koehler Oberkirch GmbH)

         43.    The United States incorporates the allegations in paragraphs 1 through 4 as if set

 forth fully herein.

         44.    Federal common law provides “that a successor entity may be responsible for its

 predecessor’s debts when ‘(1) there is an express or implied agreement to assume past debts, (2)

 the change in corporate form constitutes a de facto merger, (3) the successor is a mere

 continuation of its predecessor, or (4) the change in corporate form was motivated by the intent



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to defraud creditors.’” United States v. Sterling Footwear, Inc., 279 F. Supp. 3d 1113, 1140 (Ct.

Int’l Trade 2017) (quoting United States v. Ataka Am., Inc., 826 F. Supp. 495, 498 (Ct. Int’l

Trade 1993)).

        45.     Koehler Oberkirch GmbH, as the mere continuation of, or successor-in-interest to,

the importer of record that made the Entries, is liable to Customs for all unpaid amounts,

including accrued interest, owed in connection with the Entries.

        46.     To date, Koehler Oberkirch GmbH has not made any payments to Customs with

respect to the unpaid amounts, including accrued interest, owed in connection with the Entries.

        47.     Koehler Oberkirch GmbH is accordingly liable for $193,631,642.08 in

antidumping duties and interest pursuant to 19 U.S.C. § 1677g owed in connection with the

Entries, plus additional pre- and post-judgment interest, including but not limited to interest

pursuant to 19 U.S.C. § 1505(d).

                                           COUNT II
                                       (Koehler Paper SE)

        48.     The United States incorporates the allegations in paragraphs 1 through 47 as if set

forth fully herein.

        49.     Federal common law provides “that a successor entity may be responsible for its

predecessor’s debts when ‘(1) there is an express or implied agreement to assume past debts, (2)

the change in corporate form constitutes a de facto merger, (3) the successor is a mere

continuation of its predecessor, or (4) the change in corporate form was motivated by the intent

to defraud creditors.’” Sterling Footwear, Inc., 279 F. Supp. 3d at 1140 (quoting Ataka Am.,

Inc., 826 F. Supp. at 498).

        50.     The “spin-off,” including the creation of Koehler Paper SE and transfer of

Koehler’s significant assets thereto, was motivated by the intent to defraud Customs. In



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particular, the defendants (1) concealed the full amount of Koehler’s debts to Customs from their

financial statements; (2) shared the same officers and directors at the time of the “spin-off”; (3)

conducted the “spin-off” a few months after Koehler’s debts to Customs became final and

conclusive by law; (4) transferred over three-quarters of Koehler’s assets to Koehler Paper SE

without an equivalent transfer of liabilities or provisions; and (5) left Koehler with insufficient

assets to pay its debts to Customs.

       51.     Because the “spin-off” was motivated by the intent to defraud Customs, Koehler

Paper SE is liable for Koehler’s debts to Customs as Koehler’s successor-in-interest.

       52.     To date, Koehler Paper SE has not made any payments with respect to the unpaid

amounts, including accrued interest, owed in connection with the Entries.

       53.     Koehler Paper SE is accordingly liable to Customs, to the same extent as Koehler,

for $193,631,642.08 in antidumping duties and interest pursuant to 19 U.S.C. § 1677g owed in

connection with the Entries, plus additional pre- and post-judgment interest, including but not

limited to interest pursuant to 19 U.S.C. § 1505(d).




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        WHEREFORE, the United States respectfully requests that this Court grant judgment in

its favor and against defendants in the amount of $193,631,642.08, plus pre-judgment interest,

including but not limited to interest pursuant to 19 U.S.C. § 1505(d), and post-judgment interest;

and grant the United States such other and further relief as may be just and appropriate.

                                         Jury Trial Demand

        Pursuant to Rule 38 of the United States Court of International Trade, the United States

demands a trial by jury as to all issues so triable.

                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Principal Deputy Assistant Attorney General

                                                       PATRICIA M. McCARTHY
                                                       Director

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